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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                  v.                        :       Case No: 22-CR-15 (APM)
                                            :
JOSHUA JAMES,                               :
         Defendant                          :




                   ORDER MODIFYING CONDITIONS OF RELEASE

       Upon consideration of the Defendant’s Consent Motion to Modify Conditions of Pretrial

Release, good cause having been shown, it is hereby ORDERED that the Order Setting

Conditions of Release as to Defendant Joshua James is hereby MODIFIED as follows:

1. The defendant may access the internet for the sole purposes of: (1) attending court hearings;
   (2) communicating with his counsel and defense team; (3) reviewing discovery materials
   with counsel and defense team; and (4) any business-related jobs and communications with
   business customers and potential business customers. The defendant may not access the
   Internet for any other purposes.

2. That Mr. James may leave his residence for any reason, subject to a 60 mile radius, between
   6:00 a.m. and 9:00 p.m.


3. All other conditions of Release remain the same.


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                                                    HONORABLE AMIT P. MEHTA
                                                    United States District Judge
